UNITED STATES DISTRICT COURT
Case 22-01-0124 RL ASPEN DISTRICT OF MISSOURT P2020 * 2%

EASTERN DIVISION
MARY BUTLER, )
Plaintiff,
V. No. 4:22-CV-01244-RLW
RIVERVIEW GARDENS SCHOOL
DISTRICT, et al., )
Defendant(s).

ALTERNATIVE DISPUTE RESOLUTION COMPLIANCE REPORT
Complete one option and file this report with the Clerk's Office

Option 1

The neutral elects to extend the deadline for completing ADR for 14 days and will
continue efforts to assist the parties in reaching a settlement. Revised completion
deadline: . Such an election by the neutral is permitted once during t.
span of a mediation in a single case. If the parties require more time to complete
mediation, lead counsel must mu a motion with the Court.

An ADR conference was held on: “AG Une 26 WY

All required individuals, parties, counsel of record, corporate representatives, and/or
claims professionals attended and participated in the ADR conference(s) in good faith
and each possessed the requisite settlement authority;

The following individuals, parties, counsel of record, corporate representatives, and/o
claims professionals failed to appear and/or participate in good faith as ordered:

— 4 nA D2
The ADR referyal was concluded on / UuNe “L& YY 7 QOL >
The parties [Xdid co did not] achieve a settlement. Check one

Option 3

Although this case was referred to ADR, a confer wy S Tee HELD.

Date: b [ru /22 Neutral: Teas CS

TOKARZ. KAREN L. C)
Signature

